                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JORDAN WILLIAMS,                                  )
                                                  )
                         Petitioner,              )
                                                  )
                    v.                            )       1:20CV742
                                                  )
SHERIFF OF MOORE COUNTY,                          )
                                                  )
                      Respondent.                 )


                                          ORDER

       The Recommendation of the United States Magistrate Judge was filed with the Court

in accordance with 28 U.S.C. § 636(b) and, on October 15, 2019, was served on the parties in

this action. (ECF Nos. 2, 3.) No objections were filed within the time prescribed by §636.

       The Court hereby adopts the Magistrate Judge’s Recommendation.

       IT IS THEREFORE ORDERED that this action is construed as a habeas petition

under 28 U.S.C. § 2241 and is DISMISSED sua sponte without prejudice to Petitioner filing a

new Petition which corrects the defects of the current Petition.

       A Judgment dismissing this action will be entered contemporaneously with this Order.

       This, the 9th day of November 2020.


                                           /s/ Loretta C. Biggs
                                           United States District Judge




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